      Case: 1:21-cv-03835 Document #: 7 Filed: 09/09/21 Page 1 of 1 PageID #:26




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

                                    CASE NO.: 1:21-cv-03835

DULCIE WALKER, individually and
on behalf of all others similarly situated,                 CLASS ACTION

       Plaintiff,                                           JURY TRIAL DEMANDED

v.

ELITE MOTORS, INC.,

      Defendant.
____________________________________/
            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Plaintiff Dulcie Walker, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

hereby voluntarily dismisses the instant action. All claims of Plaintiff, individually, are hereby

dismissed without prejudice. All claims of the putative class members are hereby dismissed

without prejudice.

Date: September 9, 2021

                                                    Respectfully submitted,

                                              By:   HIRALDO P.A.


                                                    /s/ Manuel S. Hiraldo
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